Case 8:09-Cv-02184-RWT Document 71 Filed 02/24/11 Page 1 of 2

NOTICE OF APPEAL TO A COURT OF APPEALS FROM g ll Z__ n
A .]UDGME.N'I` OF U.S. DISTRICT COURT ` ' "“`F-

 

DIsTRIC'r oF MARYLAND [GREENBELT} 5=:;;`:':?:1??5: "'

United States District Court for the Disu'ict of j;;jv: :r§[;; 21! g 3:

Maryland ( Greenbelt)
File Number: 8:09-cv~02184-RWT

Plaintiff

Kwame Asafo-Adj ci
6025 Old Haxford Rd
Baltimore, MD 21214

V.
Defendants

First Savings Mortgage Corp
Thomas John McKee, Jr
Williams Mullen PC

8300 Greensboro Dr Ste 1100
McLean, VA 22102
17037605200

Andrew MacTigue
Thomas John McKee, Jr
[See above for address]

Dr George Bonney
17601 Olney Lane
Rockville, MD 20853

Hal .¥. Epstein

Thomas Jay Althauser / Nathanicl K. Risch
Eccleston and Wolf PC

Baltimore Washington Law Center

7240 Parkway Dr 4‘*' Floor

Hanover, Md 21076

14197527474

Wilshire Credit Corporation

Ralph John Dipietro / racheal Abramson
Bierman Geesing Ward and Wood LLC
4520 East West Highway Ste 200
Bethesda, MD 20814

13019616491 /12404820717

Case 8:09-Cv-O2184-RWT Document 71 Filed 02/24/11 Page 2 of 2

Green Tree Servicing LLC
Bn'en L Moffet

Gordon Feinblatt LLc

233 E Redwood St
Baitimore, MD 21202
14105764000

Homecomings Financial & GMAC Mortgage LLC
Terminated 1!26/2011

John C. Lynch

Troutman sanders LLP

222 Central Park Avenue, Suite 2000

Virginia Beach, VA 23462

757 687-7765

Notice is hereby given that Kwame Asafo-Adjei, Plaintiff and First Savings
Mortgage Corp et al. Defendants m the above named case, hereby appeal to the
United States Coun of Appeals for the 4: Circuit (Richmond) from the final Summary
Judgment entered m this action on the 8‘h day of February 2011.

w W..~

Kwame As -Adjei Plaintiff
6025 Old Harford Rd
Baltimore MD 21214

410 254-3925

